

ON MOTIONS FOR REHEARING, CLARIFICATION, CERTIFICATION OR REHEARING EN BANC

PER CURIAM.
We grant the motion for rehearing and deny the motion for clarification. As in Major v. State, 790 So.2d 550 (Fla. 3d DCA 2001), we certify that we have passed on the following question of great public importance:
WHETHER THE TRIAL COURT OR COUNSEL HAS A DUTY TO ADVISE A DEFENDANT THAT HIS PLEA IN A PENDING CASE MAY HAVE SENTENCE ENHANCING CONSEQUENCES IF THE DEFENDANT COMMITS A NEW CRIME IN THE FUTURE?
